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 1                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS
 2                           BOSTON DIVISION

 3
     -------------------------------x
 4
     STUDENTS FOR FAIR ADMISSIONS,
 5   INC.,

 6                 Plaintiff,
                                                              Civil Action No.
 7   vs.                                                      1:14-cv-14176

 8   PRESIDENT AND FELLOWS OF HARVARD
     COLLEGE (HARVARD CORPORATION);
 9   and THE HONORABLE AND REVEREND
     THE BOARD OF OVERSEERS,
10
                   Defendants.
11
     -------------------------------x
12
           - HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY -
13

14                       DEPOSITION OF RAKESH KHURANA, a

15           witness called by the Plaintiff, taken

16           pursuant to the applicable provisions of

17           the Federal Rules of Civil Procedure,

18           before James A. Scally, RMR, CRR, a

19           Notary Public in and for the Commonwealth

20           of Massachusetts, at the offices of

21           WilmerHale, 60 State Street, Boston,

22           Massachusetts, on Thursday, April 27,

23           2017, commencing at 9:06 a.m.

24

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 1         A.   That's an empirical question.

 2         Q.   Okay.    But my question is:                What is your

 3   answer to it?

 4                      MS. ELLSWORTH:            Objection.

 5         A.   I believe that one's race or ethnicity can

 6   impact their experience of others and themselves.

 7         Q.   But my question is:             Do you think that's

 8   always true?

 9                      MS. ELLSWORTH:            Objection.

10         A.   I think one's race or ethnicity can influence

11   one's experience.

12         Q.   So do I understand your answer to be that

13   it -- it doesn't -- it doesn't always necessarily

14   influence one's experience?

15                      MS. ELLSWORTH:            Objection.

16         A.   As a social scientist, I do -- would hesitate

17   to say always.

18         Q.   Do you think that Harvard can -- do you think

19   Harvard can expose its students to a diversity of

20   perspectives and ideas without explicitly considering

21   a person's race or ethnicity in the admissions

22   process?

23                      MS. ELLSWORTH:            Objection.

24         A.   I believe in order to accomplish our mission,

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 1   our students need to be exposed to a diversity of

 2   perspectives and experiences of their peers.

 3         Q.   Understood.        But my question is:                  Do you

 4   think the explicit consideration of race or ethnicity

 5   is the only way to expose them to that diversity of

 6   perspectives and experiences?

 7                      MS. ELLSWORTH:            Objection.

 8         A.   I believe exposure to different races and

 9   ethnicities is an important way to expose students to

10   differences of perspectives and experiences.

11         Q.   But my question is:             Is the only way to

12   expose them to those experiences is by explicitly

13   considering race as one of the reasons as to why you

14   do or do not get into college at Harvard?

15                      MS. ELLSWORTH:            Objection.

16         A.   I believe that race and ethnicity can be

17   considered among many other factors as part of how

18   students can be exposed to differences in ideas and

19   perspectives.

20         Q.   Yes.    But my question is:                Do you think the

21   explicit consideration of race is the only way to

22   achieve that diversity of experiences?

23                      MS. ELLSWORTH:            Objection.

24         A.   As a social scientist, I do believe that

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 1   considerations of race and ethnicity is one of the --

 2   is an important way at this time to expose students

 3   to different perspectives and points of view.

 4         Q.   My question is:           Is it impossible to expose

 5   them to the perspectives and points of view that you

 6   think is necessary for the Harvard student body

 7   without explicitly considering race?

 8                      MS. ELLSWORTH:            Objection.

 9         A.   I believe that at this time it is important

10   to consider the backgrounds and experiences,

11   including race, as part of our holistic admissions

12   process to inform the level of exposure of diversity

13   and perspectives that our students would be exposed

14   to.

15         Q.   I understand you think it's important.                          My

16   question is:       Do you think it's the only way to get a

17   diversity of experiences?

18                      MS. ELLSWORTH:            Objection.            Asked

19              and answered.

20         A.   I don't know.

21         Q.   You don't know?

22              Have you considered, for example, whether or

23   not you would get a sufficient diversity if Harvard

24   just used socioeconomic status instead of race?

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 1                      MS. ELLSWORTH:            Objection.

 2         A.   I believe that considering a variety of

 3   different backgrounds and experiences of our

 4   students, including socioeconomic background, is an

 5   important part of informing our holistic admissions

 6   process that allows students to be exposed to

 7   different perspectives and points of view.

 8         Q.   But you don't know whether if Harvard didn't

 9   use race it would -- it would still have the

10   sufficient diversity of experiences and perspectives

11   or not?

12                      MS. ELLSWORTH:            Objection.

13         A.   I don't believe that the consideration of

14   only socioeconomic background would produce a

15   sufficient diversity of perspectives and points of

16   view that we desire for accomplishing our Harvard

17   College mission.

18         Q.   And why don't you believe that?

19         A.   Diversity and perspectives and points of view

20   are informed by multiple characteristics.

21         Q.   Do you know, for example, what -- what level

22   of racial diversity would be achieved if Harvard went

23   to a race-blind admissions process?

24                      MS. ELLSWORTH:            Objection.

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 1         A.   I would need to know what characteristics we

 2   would be admitting students by.

 3         Q.   I'm just saying what if your admissions

 4   process worked exactly the way it works now, it's

 5   just that the student's ethnicity or race wasn't

 6   available to the admissions office.                      Do you have any

 7   idea what the resulting racial diversity of the class

 8   would be?

 9                      MS. ELLSWORTH:            Objection.

10         A.   I believe that would not be a -- that would

11   not produce the kind of diversity that we desire in

12   our student body in order to expose them to different

13   perspectives and points of view.                    So it would not be

14   the right student body.

15         Q.   And why do you believe that?                    Have you looked

16   at an alternative scenario?

17         A.   I believe that a variety of backgrounds and

18   experiences cutting across a variety of different

19   dimensions, including race and ethnicity, are

20   important to consider in order to produce the diverse

21   student backgrounds for the type of educational

22   philosophy and mission Harvard College has.

23         Q.   Have you personally looked at or reviewed

24   any -- any outcomes under an alternative admissions

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 1   approach?

 2                      MS. ELLSWORTH:            Objection.

 3                      I'll just remind the witness to

 4              answer the question only to the extent

 5              you can do so without disclosing advice

 6              of counsel or communications with

 7              counsel.      If you can answer the

 8              question without doing so, you may.

 9         A.   I have -- am taking the advice of counsel and

10   not answering that question.

11         Q.   So other than in conversations with counsel,

12   you have never analyzed the level of racial diversity

13   that could be achieved if Harvard went to a race-

14   blind admissions process?

15                      MS. ELLSWORTH:            Objection.

16         A.   I have not personally analyzed what could be

17   accomplished in the level of diversity depending on a

18   variety of different scenarios.                   I have not analyzed

19   that data.

20         Q.   Do you -- and other than in conversations

21   with counsel, have you -- have you discussed the

22   diversity that would result from a race-blind

23   admissions process at Harvard?

24         A.   Can you be more precise?

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 1              for the contents of communications with

 2              counsel or advice of counsel, do not

 3              disclose that information.                  But if you

 4              can otherwise answer, you may go ahead.

 5         A.   In an educational setting, a diversity of

 6   backgrounds and experiences helps inform different

 7   perspectives and points of view that allow for more

 8   thoughtful, richer discussions that advance knowledge

 9   and understanding of a variety of different fields

10   which prepares our students for our ultimate goal of

11   having citizens and citizen leaders who contribute to

12   society.

13         Q.   Outside the context of education, the use of

14   race in American society has not always been

15   positive; correct?

16                      MS. ELLSWORTH:            Objection.

17         A.   It depends.

18         Q.   Can you think of examples in which race was

19   used to a negative end in American history?

20                      MS. ELLSWORTH:            Objection.

21         A.   Yes.

22         Q.   And what are some of those examples?

23                      MS. ELLSWORTH:            Objection.

24         A.   Slavery is one example.

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 1         Q.   Slavery is one example.                Have you heard of

 2    the Chinese Exclusion Act?

 3         A.   Yes.

 4         Q.   Have you heard of other -- are you familiar

 5    with other examples of legal restrictions placed upon

 6    people because of the color of their skin?

 7         A.   Yes.

 8         Q.   You would agree with me that none of those

 9    were benign uses of race?

10                      MS. ELLSWORTH:            Objection.

11         Q.   Correct?

12                      THE WITNESS:           Could you repeat the

13              prior question to this one that led to

14              this question.

15                      (Question read.)

16         A.   Yes.

17         Q.   And you would agree that none of the examples

18    we just recounted, slavery, the Chinese Exclusion

19    Act, other legal restrictions that prohibited what

20    people could do on the color of their skin, none of

21    those were positive uses of race?

22                      MS. ELLSWORTH:            Objection.

23         A.   I would agree with that characterization.

24         Q.   And do you think it is possible that

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 1           A.   As one of many other things I would want to

 2    see.

 3           Q.   What are the other things?

 4                      MS. ELLSWORTH:            Objection.

 5           A.   One other thing would be a public education

 6    system that was more equitably funded.

 7           Q.   What else?

 8           A.   Nonsegregated residential areas.

 9           Q.   If Harvard could achieve the level of racial

10    diversity in its student body that it has today

11    without using race as an explicit factor in the

12    admissions process, would you support its ceasing the

13    use of race?

14                      MS. ELLSWORTH:            Objection.

15           A.   I don't know how it would do that.

16           Q.   If it could, just hypothetical question, if

17    you could achieve the exact same breakdown of student

18    body by ethnicity as Harvard reports it to the

19    federal government today without using race in the

20    admissions process, would you support Harvard doing

21    that?

22                      MS. ELLSWORTH:            Objection.

23           A.   I would need to understand how that was

24    achieved.

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 1         Q.   And what would you need to understand?

 2         A.   What are the other kinds of characteristics

 3    and backgrounds and experiences of the students

 4    within each of those backgrounds and experiences.

 5         Q.   What if it produced a student body that was

 6    identical to the student body today, so the exact

 7    same admitted class came in without using race?

 8    Would you support the abandonment of the use of race

 9    at that point in the admissions process?

10                      MS. ELLSWORTH:            Objection.

11         A.   I would not.

12         Q.   Why not?

13         A.   I think we still have more work to do to

14    ensure that we have as diverse a student body of

15    experiences, backgrounds, and lived experiences, and

16    I don't -- I'm not satisfied with where we are.

17         Q.   And those conditions we were talking about

18    earlier, better education funding, higher social

19    mobility, less residential segregation, those would

20    all be necessary preconditions before you would

21    consider stopping the support for the use of race in

22    the admissions process?

23                      MS. ELLSWORTH:            Objection.

24         A.   Those would be some but not exhaustive of all

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 1              are, but I have the right to instruct

 2              my witness.        So just wait a minute,

 3              please.     (Pause.)

 4                      Can you read the question back,

 5              please.

 6                      And then you can answer.

 7                      (Question read.)

 8                      THE WITNESS:           I'm sorry.          I didn't

 9              track the whole question.

10    BY MR. STRAWBRIDGE:

11         Q.   All the -- is it your testimony that any

12    conversations that your committee had or any work

13    that it did in exploring alternatives that would

14    preclude the consideration of an applicant's race in

15    the admissions process either involved or reflected

16    communications or advice of counsel?                      Is that your

17    testimony?

18         A.   Yes.

19         Q.   Okay.     The report that -- did the Committee

20    to Study the Importance of Student Body Diversity

21    issue a report?

22         A.   Which committee are you referring to?

23         Q.   The Committee to Study the Importance of

24    Student Body Diversity, the one at Harvard College

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 1    that you testified you were involved in.

 2         A.   Yes.

 3         Q.   When did it issue that report?

 4         A.   In the fall of 2016, I believe.                         Excuse me.

 5    2015.

 6         Q.   Do you know when the -- when the report

 7    was -- or when that committee was first formed?

 8         A.   Yes.

 9         Q.   When?

10         A.   I believe it was in the spring of 2015.

11         Q.   In the spring of 2015.

12              Are you aware of any analysis done by anyone

13    at Harvard College prior to that date on the

14    educational benefits of diversity at Harvard College?

15         A.   Yes.

16         Q.   And what analysis are you aware of?

17                      MS. ELLSWORTH:            Just remind the

18              witness not to disclose communications

19              with counsel in answering the question.

20         A.   Other writings on the subject.

21         Q.   Are those writings that were relied upon and

22    cited in the report that your committee issued?

23         A.   I believe they are.

24         Q.   Okay.     Are you aware of any other like

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 1    aware of any reports or studies undertaken by Harvard

 2    that discussed the alternatives to the admissions

 3    process that would not involve the use of race to

 4    achieve diversity?

 5                      MS. ELLSWORTH:            I'll just remind

 6              the witness to answer the question only

 7              to the extent you can do so without

 8              disclosing advice of counsel or

 9              communications of counsel.

10         A.   I can't answer that question.

11         Q.   Without referring to the advice of counsel?

12         A.   Yes.

13         Q.   So other than documents reflecting or reports

14    reflecting or containing the advice or communications

15    with counsel, can you identify any other report

16    Harvard College undertook prior to the work of your

17    committee or the Ryan committee analyzing whether or

18    not Harvard could achieve its diversity interests

19    without using race in the admissions process?

20         A.   I don't think so.

21                      (Recess:        2:07 p.m. to 2:14 p.m.)

22                      (Exhibit 5, report Bates stamped

23              HARV00008048 through 8069, marked.)

24    BY MR. STRAWBRIDGE:

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 1         Q.   I'm going to hand you what's been marked as

 2    Exhibit 5.       Do you recognize that document?                    (Pause.)

 3              Do you recognize this document?

 4         A.   Yes.

 5         Q.   And what is this document?

 6         A.   It's the report of the Committee to Study the

 7    Importance of Student Body Diversity.

 8         Q.   And this is the committee that you were a

 9    member of?

10         A.   Yes.

11         Q.   I'll apologize for the cough.                     It's going to

12    haunt us the rest of the day.                 If there was something

13    I could do about it, I would have.

14              You were the chair of this committee; is that

15    correct?

16         A.   Yes.

17         Q.   Okay.     Did you have any role in selecting the

18    members of the committee?

19         A.   Yes.

20         Q.   Okay.     And what -- what was that role?

21         A.   Considering and suggesting, contemplating and

22    thinking of different people to be on the committee.

23         Q.   Did anyone else choose the members of the

24    committee, or was it left to your discretion?

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 1    COMMONWEALTH OF MASSACHUSETTS                                     SUFFOLK, SS.

 2

 3                  I, JAMES A. SCALLY, RMR, CRR, a
      Certified Shorthand Reporter and Notary Public duly
 4    commissioned and qualified in and for the
      Commonwealth of Massachusetts, do hereby certify that
 5    there came before me on the 27th day of April, 2017,
      at 9:06 a.m., the person hereinbefore named, RAKESH
 6    KHURANA, who provided satisfactory evidence of
      identification as prescribed by Executive Order 455
 7    (03-13) issued by the Governor of the Commonwealth of
      Massachusetts, was by me duly sworn to testify to the
 8    truth and nothing but the truth of his knowledge
      concerning the matters in controversy in this cause;
 9    that he was thereupon examined upon his oath, and his
      examination reduced to typewriting under my
10    direction; and that this is a true record of the
      testimony given by the witness to the best of my
11    ability.
                    I further certify that I am neither
12    attorney or counsel for, nor related to or employed
      by, any of the parties to the action in which this
13    deposition is taken, and further, that I am not a
      relative or employee of any attorney or counsel
14    employed by the parties hereto or financially
      interested in the action.
15

16
              My Commission Expires:              April 8, 2022
17

18

19
                                _________________________
20                              James A. Scally, RMR, CRR
                                CSR/Notary Public
21

22

23

24

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